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6    Attorney for Defendant
     JAIME MAYORGA
7                                    UNITED STATES DISTRICT COURT
8
                                    EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA                         ) Case No.: 2:11-cr-00296-JAM-4
10                                                    )
                                                      ) STIPULATION AND ORDER TO
11                          Plaintiff,                ) CONTINUE SENTENCING
                                                      )
12   vs.                                              )
                                                      )
13   JAIME MAYORGA,                                   )
                   Defendant                          )
14                                                    )

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16          The United States of America, through its counsels of record, Mc Gregory W. Scott,

17   United States Attorney for the Eastern District of California, and Brian Fogerty, Assistant United
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     States Attorney, and defendants Jaime Mayorga, through his attorney, Ronald Peters, Esq, and
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     Ruben Rodriguez, through his attorney Michael Long, Esq, hereby stipulate and agree that the
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21   sentencing scheduled for November 5, 2019 at 9:15 am shall be continued to December 10, 2019

22   at 9:15 am.
23
            Defendants need additional time to prepare a Memorandum in Aid of Sentencing
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     primarily addressing 3553 factors. In doing so all parties are awaiting transcripts from hearings
25
     in other district courts pertaining to related matters. Furthermore, it anticipated that Michael
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27   Long attorney for Ruben Rodriguez will be in jury trial in Sacramento Superior Court on

28   November 5, 2019.

                                    STIPULATION AND ORDER TO CONTINUE SENTENCING

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1           Accordingly the defendant agrees that Local Rule T-4 exclusion would be applicable.
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            Parties agree that time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and
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     Local Code T-4 - reasonable time to prepare and for continuity of counsel. The parties agree that
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     time be excluded under this provision November 5, 2019 through December 10, 2019.

6                                                        Respectfully Submitted,
                                                         MC GREGORY W. SCOTT
7                                                        United States Attorney
8

9    DATE: October 9, 2019                               /s/ Ron Peters for Brian Fogerty    _
                                                         BRIAN FOGERTY
10
                                                         Assistant U.S. Attorney
11

12   DATE: October 9, 2019                               /s/Ron Peters                  _______
13
                                                         RON PETERS
                                                         Attorney for Defendant
14                                                       Jaime Mayorga
15

16   DATE: October 9, 2019                               /s/Ron Peters for Michael Long_______
                                                          RON PETERS Attorney for Defendant
17                                                       Ruben Rodriguez
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                                  STIPULATION AND ORDER TO CONTINUE SENTENCING

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                                                        ORDER
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            The Court, having considered the stipulation of the parties, and good cause appearing
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     therefrom, adopts the stipulation of the parties in its entirety as its order. Based on the stipulation

6    of the parties, the Court finds that the failure to grant a continuance in this case would deny
7    defense counsel reasonable time necessary for effective preparation, taking into account the
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     exercise of due diligence, and defendant continuity of counsel. The Court specifically finds that
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        the ends of justice served by the granting of such continuance outweigh the interests of the
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11    public and that the time from the date of the stipulation, to and including December 10, 2019.

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             It is so ordered.
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     Date: October 9, 2019                                  /s/ John A. Mendez_______________
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                                                            JOHN A. MENDEZ
17                                                          United States District Court Judge
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                                    STIPULATION AND ORDER TO CONTINUE SENTENCING

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